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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 10X GENOMICS, INC. and PROGNOSYS
 BIOSCIENCES, INC.,

                Plaintiffs,
                                                  C.A. No. 21-cv-653-MFK
        v.

 NANOSTRING TECHNOLOGIES, INC.,

                Defendant.


     [PROPOSED] ORDER GRANTING PLAINTIFFS 10X GENOMICS, INC. AND
   PROGNOSYS BIOSCIENCES, INC.’S MOTION FOR JUDGMENT AS A MATTER OF
        LAW PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 50(a)

        The Court having considered Plaintiffs 10x Genomics, Inc. and Prognosys Biosciences,

 Inc.’s Motion for Judgment as a Matter of Law Pursuant to Federal Rule of Civil Procedure 50(a)

 (the “Motion”), and any opposition thereto,

        IT IS HEREBY ORDERED THAT:

        (1)    The Motion is GRANTED;

        (2)    Defendant NanoString Technologies, Inc. directly infringed and contributed to

 infringement of U.S. Patent Nos. 10,472,669; 10,961,566; 10,983,113; 10,996,219; 11,001,878;

 and 11,008,607;

        (3)    U.S. Patent Nos. 10,472,669; 10,961,566; 10,983,113; 10,996,219; 11,001,878;

 11,008,607; and 11,293,917 are not invalid as a matter of law.

        IT IS SO ORDERED this ______ day of November, 2023.



                                                   The Honorable Matthew F. Kennelly
                                                   United States District Judge
